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Attorney for Defendant – Pavel “Paul” Babichenko
                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,

               Plaintiff,                           CASE NO. CR-18-00258-BLW
vs.
PAVEL BABICHENKO,                                   MOTION TO RETURN PROPERTY
GENNADY BABITCHENKO,
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMENTS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

               Defendants.




       COMES NOW, PAVEL “PAUL” BABICHENKO, by and through his attorney, John C.

DeFranco, hereby asks this court to order the return of property namely seized vehicles pursuant

to Federal Rule of Criminal Procedure 41(g). Mr. Babichenko alleges he is an aggrieved person

due to the deprivation of the use of his vehicles. Mr. Babichenko further requests the property be

returned under an alternate theory of hardship pursuant to 18 U.S.C. 983(f).

       Dated: November 4, 2019
                                         ________/s/___________________
                                        John Charles DeFranco
                                        Attorney for Pavel “Paul” Babichenko

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                               CERTIFICATE OF SERVICE


       I hereby certify that on the 4th day of November, 2019, I served a true and correct copy

of the within and foregoing document by the method indicated below and addressed to the

following:

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                                        ________/s/___________________
                                        Megan Lentz




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